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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 DOROTHY JACKSON                                  Case No.: 8:19-cv-1009-TDC

               Plaintiff,

        v.

 JTM CAPITAL MANAGEMENT, LLC et al

               Defendants.

        PLAINTIFF’S MOTION TO STRIKE 5TH AFFIRMATIVE DEFENSE OF JTM
                      CAPITAL MANAGEMENT, LLC

       Plaintiff, Dorothy Jackson, moves by and through her undersigned counsel to

strike the 5th Affirmative Defense from Defendant JTM Capital Management, LLC’s

answer (ECF 15) because it is insufficient as a matter of law and does not provide fair

notice of a defense to Plaintiff’s Complaint. Plaintiff’s memorandum in support is

incorporated herein.


        I.    Introduction

       Plaintiff filed her Complaint in the Circuit Court for Montgomery County,

Maryland, on March 1, 2019. ECF 11. Defendant JTM removed the complaint to this court

on April 3, 2019. ECF 1. The Complaint alleges that JTM violated the Fair Debt Collection

Practices Act (FDCPA), the Maryland Consumer Debt Collection Act (MCDCA) and the

Maryland Consumer Protection Act (MCPA).

       In its Amended Answer (ECF 15) to the Complaint, the Defendant pleaded the

following as its 5th Affirmative Defense:


              Plaintiff’s claims may be precluded, in whole or part, to the
              extent Plaintiff’s purported damages, if any, were caused by
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                 Plaintiff’s acts and/or omissions. Upon the completion of
                 discovery, Defendant may discover facts that Plaintiff's acts or
                 omissions caused or contributed to the purported violations
                 of the Fair Debt Collection Practices Act and/or her purported
                 damages.

        Because this defense is clearly insufficient in law, and unsupported by any facts, it

should be stricken at this stage pursuant to FRCP 12(f). Bradshaw v. Hilco Receivables,

LLC, 725 F.Supp.2d 532, 536–37 (D. Md. 2010) (Bennett, J., striking affirmative defenses

unsupported by facts and insufficient in law).1

        II. The Law
        An affirmative defense must provide “fair notice of the factual basis for a claim or

defense.” Bradshaw, 725 F.Supp.2d 532 at 536. This standard is imposed in order to

“promote litigation efficiency and discourage defendants from asserting boilerplate

affirmative defenses.” Id. Defenses may be stricken where they “contain no facts and are

too conclusory to provide fair notice of the grounds on which the defense stand.” Topline

Solutions, Inc. v. Sandler Systems, Inc. Civ. No. L-09-3102, 2010 WL 2998836, *2 (D.

Md. Oct. 1, 2010). This is the pleading standard articulated in Bell Atlantic Corp. v.

Twombly, 550 U.S. 544 (2007) and Ashcroft v. Iqbal, 556 U.S. 662 (2009). The majority

of judges in this District apply this standard to affirmative defenses.2




1 Several other judges in this District have also stricken affirmative defenses which were not sufficiently pled
See, e.g. Ulyssix Techs., Inc. v. Orbital Network Eng'g, Inc., No. ELH–10–02091, 2011 WL 631145, at *14
(D.Md. Feb. 11, 2011) (Hollander, J., striking affirmative defenses unsupported by facts); Topline Solutions,
Inc. v. Sandler Sys., Inc., No. L–09–3102, 2010 WL 2998836, at *1 (D.Md. July 27, 2010) (Legg, J., striking
affirmative defenses unsupported by facts); Malibu Media, LLC v. Doe, No. 13-cv-512-RWT, 2015 WL
1402286 (D. Md. Mar. 25, 2015)(Titus, J., striking insufficient defenses); Alston v. Equifax Information
Services, LLC, No. GLR-13-934, 2014 WL 580148 (D. Md. Feb. 11, 2014)(Russell, J., striking unsupported
defenses); Alston v. Transunion, 2017 WL 464369 (D. Md. Feb. 1, 2017)(Hazel, J. , striking unsupported
defenses) but see contra Baron v. Directv, LLC, No. CV JKB-16-3145, 2017 WL 68688, at *1 (D. Md. Jan.
6, 2017)(Bredar, J. holding “[i]t is still the undersigned’s opinion . . . that affirmative defenses need only
meet the pleading standard of Rule 8(b)(1)(A).”)
2 See LBCMT 2007-C3 Urbana Pike, LLC v. Sheppard, 302 F.R.D. 385, 387 (D. Md. 2014)(disagreeing, but

collecting at Fn.1 decisions on this issue in this district) and note 1, supra, collecting cases in which
affirmative defenses were stricken under this standard.
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         In addition, affirmative defenses may be stricken if they “might confuse the issues

in the case and would not, under the facts alleged, constitute a valid defense to the action.”

Waste Management Holdings, Inc. v. Gilmore, 252 F.3d 316 (4th Cir. 2001). A defense

that is “clearly insufficient as a matter of law” may be stricken. Bradshaw, 725 F.Supp.2d

at 535 (D. Md. 2010) citing Hanzlik v. Birach, 2009 WL 2147845, at *3 (E.D. Va. July 14,

2009).

      III.     Argument

         Plaintiff alleges various violations of the Fair Debt Collection Practices Act

(FDCPA), the Maryland Consumer Debt Collection Act (MCDCA) and the Maryland

Consumer Protection Act (MCPA). Plaintiff claims statutory damages, and actual

damages in the form of emotional distress.

         Defendant’s 5th affirmative defense appears to be that Plaintiff caused the FDCPA

and state law violations for which she sues, or that she caused her own damages. This

defense is so vague that it does not provide Plaintiff with fair notice of the defense raised.

It is wholly unsupported by facts and is pleaded as pure speculation that defendant “may”

discover facts that support such a defense.

         Notwithstanding these defects, none of the legal theories that this defense might

represented is a defense to Plaintiff’s claims.

         To the extent that this defense is distinct from failure to mitigate, it is legally

insufficient. The FDCPA is a consumer protection statute, whose protection extends even

to fraudulent consumers. Johnson v. Nationstar Mortg., LLC 2017 WL 3705838 (M.D.

Fla. Aug. 28, 2017)(defense akin to “unclean hands” stricken as insufficient as a matter of

law); Fed. Trade Comm’n v. Check Investors, Inc., 502 .3d 159 (3d Cir. 2007)(FDCPA

protects even consumers who commit fraud); Branco v. Credit Collection Servs. Inc., 2011
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WL 3684503 (E.D. Cal. Aug. 23, 2011)(defense that consumer assumed risk of FDCPA

violation wholly without merit).

       In this case, Plaintiff cannot possibly have caused Defendant’s violations, as

pleaded. There is no set of facts under which Plaintiff could be legally responsible for:

       (1) JTM’s hiring its co-defendants as unlicensed debt collectors.

       (2) JTM’s co-defendants falsely threatening plaintiff with criminal charges.

       (3) JTM’s co-defendants contacting persons other than the plaintiff about her

          alleged debt.

       (4) JTM’s co-defendants pretending that they had a right to collect when, because

          they were unlicensed, they had no such right.

       To the extent that this defense alleges comparative or contributory negligence by

Plaintiff, it is legally insufficient. Comparative negligence is not recognized in Maryland

law. Coleman v. Soccer Ass’n of Columbia, 69 A.3d 1149, 1152 (Md. 2013)(declining to

abrogate contributory negligence doctrine in favor of comparative negligence).

Contributory negligence does not apply to intentional torts, and rarely applies to reckless

or strict liability torts. Restatement (Second) of Torts, § 481-482, 484. Nor does

contributory negligence bar recovery for non-negligent statutory torts. Id § 483

(“contributory negligence bars . . . recovery for the negligence of the defendant consisting

of the violation of a statute.”)(emph. Added).

       All of the claims here are statutory and none impose a negligence standard. FDCPA

is a strict liability statute. Bradshaw, 765 F.Supp. 2d at 725. The MCDCA violations

pleaded either require no mental element, or require reckless disregard or actual

knowledge by Defendant. Spencer v. Hendersen-Webb, Inc. 81 F.Supp. 2d 582, 595 (D.

Md. 1999)(Md. Code Ann., § 14-202(8) requires showing of actual knowledge or reckless
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disregard); Md. Code Ann., Com. L. § 14-202(2),(4-5)(prohibiting conduct without

imposing any mental element). Thus, no set of facts that JTM might assert would give it

a contributory or comparative negligence defense.

       For these reasons, JTM’s 5th Affirmative defense is insufficient as a matter of law,

and not pleaded so as to provide Plaintiff with fair notice. The defense will merely serve

to confuse the issues in this case and expand the scope of Defendant’s discovery to

encompass supposed misconduct by Plaintiff that cannot constitute a defense to

Plaintiff’s claims.



       IV.   Conclusion
       Defendant’s 5th Affirmative Defense should be stricken.


                                                 Respectfully submitted,

       Dated: May 22, 2019

               By:                               /s/ Emanwel J. Turnbull

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                                  CERTIFICATE OF SERVICE
             This is to certify a copy was served on Defendant’s counsel when filed
through the CM/ECF system on May 22, 2019, and by first class mail postage pre-paid
on:
      Weinberg Mediation Group, LLC
      By: Jerry Verhagen
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      Defendants


                                             /s/Emanwel J. Turnbull
                                             Emanwel J. Turnbull
